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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 7
       STATE OF WASHINGTON,                            C17-5806RJB
 8
                             Plaintiff,
 9
                  v.
10
       THE GEO GROUP, INC., a Florida
11     corporation,

12                           Defendant.

13                                                     C17-5769 RJB
       UGOCHUKWU GOODLUCK
14     NWAUZOR, on behalf of all those                 ORDER ON DEFENDANT’S MOTION
       similarly situated, and FERNANDO                FOR AN ORDER CERTIFYING
15     AGUIRRE-URBINA, individually,                   INTERLOCUTORY APPEAL AND TO
                                                       STAY
16                                   Plaintiffs,

17                v.

18     THE GEO GROUP, INC., a Florida
       corporation,
19
                                 Defendant.
20

21
            THIS MATTER comes before the Court on the Defendant The GEO Group, Inc.’s
22
     (“GEO”) Motion for an Order Certifying an Interlocutory Appeal and Motion to Stay Litigation
23
     Pending Appeal (filed in Washington v. The GEO Group, Inc., U.S. District Court for the
24


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 1   Western District of Washington case number 17-5806, Dkt. 538 and in Nwauzor v. The GEO

 2   Group, U.S. District Court for the Western District of Washington case number 17-5769, Dkt.

 3   426). The Court has considered the pleadings filed regarding the motion, testimony heard and

 4   other evidence presented during the 11-day trial, and the remaining record.

 5          These two consolidated cases arise from Plaintiffs’ claims that GEO failed to pay

 6   immigration detainees in its Voluntary Work Program (“VWP”) the Washington minimum wage

 7   at its Northwest Detention Center, now renamed Northwest ICE Processing Center. One case,

 8   Nwauzor, case number 17-5769, is a class action. The other case is brought by the State of

 9   Washington. State, case number 17-5806.

10          On August 6, 2018, the class was certified and the class defined as “[a]ll civil

11   immigration detainees who participated in the Voluntary Work Program at the Northwest

12   Detention Center at any time between September 26, 2014, and the date of final judgment in this

13   matter.” Nwauzor, case number 17-5769, Dkt. 114, at 4. On June 1, 2021, trial began. After an

14   11-day trial, jury deliberations over three days, and a declaration from the jury that they could

15   not agree on a verdict, a mistrial was declared on June 17, 2021. State, case number 17-5806,

16   Dkt. 487 and Nwauzor, case number 17-5769, Dkt. 376. The next trial is set to begin on October

17   12, 2021.

18          GEO now moves for an order certifying an interlocutory appeal to Ninth Circuit Court of

19   Appeals the following questions:

20          (1) Whether the District Court is required to consider federal case law decided
            under the [“Fair Labor Standards Act (“FLSA”)] in interpreting the definition of
21          “employee” under the [ Washington Minimum Wage Act (“WMWA”)]; and

22          (2) Whether a determination that federal detainees are “employees” under the
            provisions of the WMWA violates established principles of intergovernmental
23          immunity.

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 1   If the appeal is certified, GEO also moves to stay the case until after a decision on the appeal is

 2   issued.

 3             Both the State and the class oppose the motion. State, case number 17-5806, Dkt. 551 and

 4   Nwauzor, case number 17-5769, Dkt. 440. GEO has replied (State, case number 17-5806, Dkt.

 5   552 and Nwauzor, case number 17-5769, Dkt. 441) and the motion is ripe for decision.

 6                                                    DISCUSSION

 7             Pursuant to 28 U.S.C. § 1292(b):

 8             When a district judge, in making in a civil action an order not otherwise
               appealable under this section, shall be of the opinion that such order involves a
 9             controlling question of law as to which there is substantial ground for difference
               of opinion and that an immediate appeal from the order may materially advance
10             the ultimate termination of the litigation, he shall so state in writing in such order.
               The Court of Appeals which would have jurisdiction of an appeal of such action
11             may thereupon, in its discretion, permit an appeal to be taken from such order, if
               application is made to it within ten days after the entry of the order: Provided,
12             however, That application for an appeal hereunder shall not stay proceedings in
               the district court unless the district judge or the Court of Appeals or a judge
13             thereof shall so order.

14   “The legislative history of § 1292(b) indicates that this section was to be used only in exceptional

15   situations in which allowing an interlocutory appeal would avoid protracted and expensive

16   litigation.” In re Cement Antitrust Litigation, 673 F.2d 1020, 1026 (9th Cir. 1982)).

17             GEO’s motion to certify an interlocutory appeal of one or both of the proposed questions

18   to the Ninth Circuit Court of Appeals (State, case number 17-5806, Dkt. 538 and Nwauzor, case

19   number 17-5769, Dkt. 426) should be denied. GEO fails to demonstrate that the orders on the

20   issues it seeks to appeal immediately “involve[] a controlling question of law as to which there is

21   a substantial ground for difference of opinion.” In re Cement Antitrust Litigation, at 1026. On

22   GEO’s first question (whether FSLA case law in must be considered in interpreting “employee”

23   under the WMWA), the Washington statute and courts have provided the necessary guidance and

24   appropriate changes or additions to the Court’s jury instructions will be considered as part of the


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 1   second trial. As to the second question regarding intergovernmental immunity, GEO disputes

 2   the Court’s application of established legal principles. While GEO clearly does not agree with

 3   the Court’s rulings on the issues presented in the proposed questions, “a party’s strong

 4   disagreement with the Court's ruling is not sufficient for there to be a substantial ground for

 5   difference.” Couch v. Telescope Inc., 611 F.3d 629, 633 (9th Cir. 2010)(internal quotation

 6   marks and citations omitted).

 7          Further, GEO does not show that an immediate appeal would “materially advance the

 8   ultimate termination of the litigation.” In re Cement Antitrust Litigation, at 1026. Certifying an

 9   appeal at this point would delay trial, which is set to begin in less than a month. In its discussion

10   of an interlocutory appeal’s efficiency, GEO does not acknowledge the possibility that its appeal

11   might fail entirely. The Ninth Circuit Court of Appeals might affirm the rulings of this Court,

12   which would mean the trial must still be held, likely over a year from now. GEO fails to show

13   that it cannot wait a month or so to file its appeal - if it deems that is appropriate. (GEO may

14   well prevail at trial, which would moot the necessity for a GEO appeal.)

15          As with the denial of the motion to certify the interlocutory appeal, the motion to stay the

16   case should also be denied.

17                                                     ORDER

18          IT IS ORDERED THAT:

19                 GEO’s Motion for an Order Certifying an Interlocutory Appeal and Motion to

20                  Stay Litigation Pending Appeal (filed in Washington v. The GEO Group, Inc.,

21                  U.S. District Court for the Western District of Washington case number 17-5806,

22                  Dkt. 538 and in Nwauzor v. The GEO Group, U.S. District Court for the Western

23                  District of Washington case number 17-5769, Dkt. 426) IS DENIED.

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 1          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 2   to any party appearing pro se at said party’s last known address.

 3          Dated this 20th day of September, 2021.

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                                           A
                                           ROBERT J. BRYAN
                                           United States District Judge
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